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7                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON
8                                    MEDFORD DIVISION
9
      In re the Matter of J.P. and E.P.:
10                                                        Civil Action No.1:24-cv-00648-AA
      ARNAUD PARIS,
11                                                        PETITIONER'S EMERGENCY
                                   Petitioner,            MOTION FOR EXPEDITED
12
      and                                                 HEARING TO SAVE THE
13                                                        CIDLDREN SCHOOL YEAR IN
      HEIDI MARIE BROWN,                                  FRANCE
14
                                   Respondent.             OTE ON MOTION CALENDAR:
15                                                        'XPEDITED HEARING RE UESTED
16

17
             Mother just committed a child abduction in the middle of the school year in France:
18·
             1.     After their temporary 2022-2023 school year in Oregon both children had
19

20    returned to their respective French schools in Paris in September 2023 and they were

21    kidnapped from France by Mother two thirds into their school year that doesn't end till July
22
      6th 2024, sacrificing literally their school year if they can't return immediately to France.
23
             2.     Eva Paris is part of a school that is also a musical program in connection with
24
      the Paris Conservatory in which she's been studying violon for 3 years. Eva and her
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     classmates and formed this year an orchestra that is supposed to perform a concert in less
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3    than two months. Eva having been kidnapped by Mother in the final preparation of this

4    concert will affect the entire class and orchestra dramatically and Eva must be feeling

5    extremely bad from not being able to participate in these crucial months along with her
6
     classmates in Paris.
7
            3.     Juliette Paris is equally part of a program at the Paris Conservatory but in
8
     classical dance and she was preparing a crucial audition with one of her best friends, Alma,
9

10   that would allow them to join together in a 4-year dance program at the conclusion of their

11   pre-school. Without being able to finish her dance year at the conservatory Juliette won't be
12
     able to apply to the audition with friend Alma which will strongly affect them both.
13
            4.     The consequences of Mother kidnapping the children from France at this time
14
     of the school year are dramatic on both kid's future education and school in France which
15

16   was filed first and was also the first to make a custodial determination about these children.

17   Petitioner respectfully asks in the interest of the children that an expediated trial conference

18   and hearing be held on the matter of returning the children to their French school within the
19
     next couple of weeks in order to salvage their school year.
20
            5.     It is to be noted that just before this kidnapping Father had offered to
21
     participate in a mediation in France that Mother attended on the first meeting and used the
22

23   second meeting to mislead Father to lower his guard. Father is still willing to continue this

24   mediation process with Mother in France if Mother is willing to return the children to
25

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     France immediately and Father is still willing to offer Mother to get shared custody in
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3    France and to allow children to travel to the US every French vacation.

4           6.     For all these reasons it is crucial that the children don't become any further

5    victims of this situation and that they be returned immediately by Mother to France in order
6
     to salvage their French school year and that the French custody proceedings that had been
7
     filed first and were first to judgment be properly concluded in France through Mother's
8
     appeal that is supposed to take place within a few months and in which Mother will be
9

10   given a chance to argue that the first French decision should be revised to grant her custody

11   of the children in the US or to relinquish jurisdiction to the Oregon courts.
12

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     LEGAL ARGUMENT:
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     22 USC § 9004(a) states in pertinent part that:
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16
     In furtherance of the objectives of article 7(b) and other provisions of the Convention, and

17   subject to the provisions of subsection (b) of this section, any court exercising jurisdiction of

18   an action brought under section 9003(b) of this title may take or cause to be taken measures
19
     under Federal or State law, as appropriate, to protect the well-being of the child involved[.]
20
     (Emphasis added.)
21
     The well-being of the children includes that their school year shouldn't disrupted by the fact
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23   that Mother couldn't wait for her French appeal to conclude in the coming months. France

24   was the first to be filed and to judgment. Mother was entitlted to an appeal in France that
25

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     she filed but by seaking a conflicting decision in the Oregon court in parallel has created a
2

3    situation in which the children are becoming victims to the point of Mother being willing to

4    sacrifice their school year to block them to the US.

5    Father offered a mediation in France that could continue if Mother returns the children right
6
     away to France.
7

8
     CONCLUSION AND PRAYER FOR RELIEF:
9

10   For the foregoing reasons, Mr. Paris seeks entry of an expedited order granting him a

11   hearing for the return of the children to France to salvage their French school year in their
12
     respective conservatory programs. While the school year finished Petitioner commits to
13
     pursuing mediation with Mother in order to allow them to spend their entire summer
14
     vacation in Oregon with the American family and subsequent vacations or to agree to
15

16   shared custody time in Paris which would be in the interest of the children to have both of

17   their parents in their lives. The current judgment obtained without due process and the

18   bench warrant issued a Mother's request in the Oregon court doesn't allow for the Father
19
     to be in the children's life in Oregon.
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     to be in the children's life in Oregon.
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7
                  DATED this 18th day of April, 2024, in Paris, France
8

9

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11

12
                                                        13 rue Ferdinand Duval
13                                                      §5004 Paris, FRANCE
                                                        +33.6.88.28.36.41
14

15                                        VERIFICATION
16
           I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
17   of America that the foregoing is true and correct.

18   SIGNED AND DATED this 18th day of April, 2024, in Paris, France.
19

20
                  #
21                #
22
                                         Arnaud Paris
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2                          CERTIFICATE OF SERVICE
3       I hereby certify that I served the foregoing PETITIONER'S EMERGENCY MOTION FOR
        EXPEDITED HEARING TO SAVE THE CHILDREN SCHOOL YEAR IN FRANCEon the following
        party:
4
                                             Heidi Marie Brown
5
                                              2256 Abbott Ave
6                                            Ashland, OR 97520
                                           heidimparis@gmail.com
7                                                Respondent

8    By the following method or methods:


9    _ _ by mailing full, true, and correct copies thereof in sealed, first class postage
     prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office address of
10   the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
     set forth below.
11
      X    by emailing full, true, and correct copies thereof to the attorney(s) at the email address
12    shown above, which is the last known email address for the attorney(s) office, on the date set forth
      below.
13
           by faxing full, true, and correct copies thereof to the attomey(s) at the fax number(s)
14    shown above, which is the last known fax number for the attomey(s) office, on the date set forth
      below. The receiving fax machines were operating at the time of service and the transmission was
15    properly completed.

16   _ _ by selecting the individual(s) listed above as a service contact when preparing this electronic
     filing submission, thus causing the individual(s) to be served by means of the court's electronic filing
17   system.
18                 DATED this 18th day of April, 2024, in Paris, France.

19
               / ? /
         ~,,,..,~-::::-~
20
     By:_·_-
21   ARNAUD PARIS, Petitioner

22   ARNAUD PARIS
     13 rue Ferdinand Duval
23   75004, PARIS, FRANCE
     Telephone: +33688283641
24   Email: aparis@sysmicfilms.com

25

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